Case 3:05-cr-01629-L      Document 120         Filed 11/07/06       PageID.726        Page 1 of 3



 1

 2

 3

 4

 5

 6

 7

 8                                  UNITED STATES DISTRICT COURT

 9                               SOUTHERN DISTRICT OF CALIFORNIA

10    UNITED STATES OF AMERICA,                       )       Case No. 05cr1629-L
                                                      )
11                            Plaintiff,              )
                                                      )       ORDER OF
12            v.                                      )       CRIMINAL FORFEITURE
                                                      )
13    JOAQUIN OROZCO-GONZALEZ (11),                   )
                                                      )
14                            Defendant.              )
                                                      )
15

16            WHEREAS, in the Superseding Indictment in the above-captioned case, the United States

17    sought forfeiture of all right, title and interest in specific properties of the above-named Defendant,

18    JOAQUIN OROZCO-GONZALEZ (11) ("Defendant"), pursuant to Title 21, United States Code,

19    Section 853(a)(1), and Title 18, United States Code, Section 982 as property obtained directly or

20    indirectly as the result of the commission of the violations charged in the Superseding Indictment;

21    and

22            WHEREAS, on July 24, 2006, Defendant entered a guilty plea to Counts 1 and 3 of the

23    Superseding Indictment, which plea included an agreement to forfeit $25,000 to the United States,

24    which the Defendant admitted represented the amount of drug proceeds he received from engaging

25    in the illegal activities comprising Counts 1 and 3; and

26            WHEREAS, by virtue of the admissions of the Defendant set out in his plea agreement and

27    guilty plea, the Court determined that $25,000 (U.S. dollars), represented the drug proceeds

28    ///
Case 3:05-cr-01629-L      Document 120        Filed 11/07/06      PageID.727       Page 2 of 3



 1    received by Defendant while engaging in conspiracies to import anabolic steroids and to launder

 2    money as charged in the Superseding Indictment and to which the Defendant pleaded guilty; and

 3           WHEREAS, by virtue of said guilty plea and the Court’s findings, the United States is now

 4    entitled to a personal money judgment against the Defendant in the amount of $25,000, pursuant

 5    to 21 U.S.C. § 853, 18 U.S.C. § 982 and Rule 32.2(b) of the Federal Rules of Criminal Procedure;

 6    and

 7           WHEREAS, Rule 32.2(c)(1) provides that "no ancillary proceeding is required to the extent

 8    that the forfeiture consists of a money judgment;" and

 9           WHEREAS, by virtue of the facts set forth in the plea agreement, the United States has

10    established the requisite nexus between the money judgment constituting the forfeiture in this case

11    and the offenses of conviction; and

12           WHEREAS, the United States, having submitted the Order herein to the Defendant through

13    his attorney of record on November 3, 2006, to review, and no objections having been received;

14           Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Defendant

15    JOAQUIN OROZCO-GONZALEZ (11) shall forfeit to the United States the sum of $25,000

16    pursuant to Title 21, United States Code, Section 853(a)(1) and Title 18, United States Code,

17    Section 982 and said $25,000 shall constitute a personal judgment against the Defendant in favor

18    of the United States of America until paid in full; and

19           IT IS FURTHER ORDERED that the United States District Court shall retain jurisdiction

20    in the case for the purpose of enforcing this Order and the resulting judgment against Defendant

21    JOAQUIN OROZCO-GONZALEZ (11); and

22           IT IS FURTHER ORDERED that pursuant to Rule 32.2(b)(3), this Order of Forfeiture is

23    final as to the Defendant as of the time of sentencing and is part of the sentence and included in

24    the judgment; and

25           IT IS FURTHER ORDERED that the United States may, at any time, move pursuant to

26    Rule 32.2(e) to amend this Order of Forfeiture to substitute property to satisfy the money judgment

27    in whole or in part, up to the full amount of the $25,000 judgment; and

28    ///


                                                      2                                 05cr1629
Case 3:05-cr-01629-L      Document 120        Filed 11/07/06      PageID.728       Page 3 of 3



 1           IT IS FURTHER ORDERED that the Clerk of the Court shall forward four certified copies

 2    of this Order to the United States Attorney's Office, Attention: Assistant U.S. Attorney Timothy D.

 3    Coughlin.

 4           IT IS SO ORDERED.

 5    DATED: November 7, 2006

 6
                                                  M. James Lorenz
 7                                                United States District Court Judge

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
      Order of Criminal Forfeiture
28    U.S. v. Joaquin Orozco-Gonzalez (11)
      Case No. 05cr1629-L

                                                      3                                 05cr1629
